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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :     CRIMINAL ACTION
                                           :     No. 12-112-01
      v.                                   :
                                           :
PATRICIA McGILL                            :

                               M E M O R A N D U M

EDUARDO C. ROBRENO, J.                                          May 13, 2016


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           On February 8, 2016, a jury found Defendant Patricia

McGill guilty of four counts of health care fraud, in violation

of 18 U.S.C. § 1347. Before the Court is Defendant’s Renewed

Motion for Judgment of Acquittal. In the alternative, Defendant

seeks a new trial pursuant to Federal Rule of Criminal Procedure

33. The Court held a hearing on the motion on April 13, 2016.

For the reasons that follow, the Court will deny Defendant’s

motion.


I.   BACKGROUND

     A.    Procedural History

           On March 21, 2012, Defendant Patricia McGill, a

registered nurse (“RN”), was charged by indictment with

conspiring to commit health care fraud, in violation of 18

U.S.C. § 1349 (Count One), and thirteen substantive counts of

health care fraud, in violation of 18 U.S.C. § 1347 (Counts Two

through Fourteen). Fifteen other defendants charged with various

levels of involvement in the same healthcare fraud scheme

entered guilty pleas or were convicted at trial.

           The charges in this case revolved around the conduct

of Defendant and others in connection with the operation of a

hospice services company located in Northeast Philadelphia. 1


1
          The circumstances leading to the convictions of other
defendants in this case were described by this Court and the
Third Circuit in United States v. Shvets, 631 F. App’x 91 (3d
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          Home Care Hospice, Inc. (“HCH”), a for-profit hospice

services provider, was incorporated in 1999 under the laws of

the Commonwealth of Pennsylvania. HCH was in the business of

providing hospice services for patients at nursing homes,

hospitals, and private residences. HCH received Medicare,

Medicaid, and private insurance reimbursement for providing home

care and in-facility care to purportedly terminally ill patients

with life expectancy prognoses of six months or less.

          Defendant McGill served as HCH’s Director of Nursing

and Clinical Services commencing in or about 2005. In this

capacity, McGill was responsible for the planning,

implementation, and evaluation of hospice services in accordance

with local, state, and federal regulations. McGill supervised

HCH’s nursing staff; her work included reviewing staff

documentation and patient charts to assure quality and

appropriateness for hospice service and maintaining records of

patient visits.

          Defendant McGill was charged with knowingly

authorizing the admission and maintenance of patients ineligible

for hospice services, resulting in fraudulent health care

insurance claims submitted by HCH totaling approximately


Cir. 2015); United States v. Goldman, 607 F. App’x 171 (3d Cir.
2015); and United States v. Kolodesh, No. 11-464, 2014 WL
1876214 (E.D. Pa. May 12, 2014), aff’d, 787 F.3d 224 (3d Cir.
2015).

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$9,328,000, and authorizing HCH staff to falsely document

higher, more costly levels of hospice services, resulting in

fraudulent claims totaling approximately $325,000.

           Defendant McGill’s trial was delayed for almost four

years, largely due to her challenge to her competency to stand

trial. The Court continued the trial on several occasions to

allow for McGill’s medical evaluation, an evidentiary hearing,

and briefing on the issue. Ultimately, on August 18, 2015,

McGill was found competent to stand trial.

           Prior to trial, the parties each filed several motions

in limine and other dispositive motions. The Government filed

the following motions:

     •   A motion requesting submission of a copy of the redacted

         indictment to the jury during deliberations (ECF No.

         251), which the Court granted (ECF No. 411);

     •   A motion to admit recordings of intercepted conversations

         (ECF No. 306), which the Court granted pursuant to a

         stipulation by the parties (ECF No. 391); and

     •   A motion to admit certain exhibits as business records

         (ECF No. 307), which the Court granted, subject to

         certain conditions (ECF No. 391).

Defendant, in turn, filed the following eight pretrial motions:

     •   A motion for a hearing to determine the admissibility of

         alleged co-conspirators’ statements and to establish the
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    order of proof to prove a conspiracy (ECF No. 356), which

    the Court denied (ECF No. 384);

•   A motion to bar inflammatory language (ECF No. 357),

    which the Court denied as premature (ECF No. 384);

•   A motion for disclosure of forged or altered documents

    and a bill of particulars (ECF No. 358), which the Court

    denied (ECF No. 384);

•   A motion to compel identification of Brady and Giglio

    material (ECF No. 359), which the Court denied (ECF No.

    384);

•   A motion to bar admission of peer comparison data and

    estimate evidence (ECF No. 361), which the Court denied

    (ECF No. 384);

•   A motion to strike or amend the indictment to conform to

    the statute of limitations (ECF No. 367), which the Court

    denied (ECF No. 384);

•   A motion to compel discovery (ECF No. 369), which the

    Court denied as moot (ECF No. 391); and

•   A motion to dismiss Counts Two through Fourteen of the

    Indictment as violative of due process rights under the

    void for vagueness doctrine, or, in the alternative, a

    motion to properly define the hospice regulation to the

    jury (ECF No. 380), which the Court denied (ECF No. 391).


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          Before the trial, Defendant also filed a notice of

defense, asserting entrapment by estoppel and a public authority

defense. ECF Nos. 360, 378. The Government moved to exclude both

defenses. ECF No. 381. The Court granted the Government’s motion

to exclude the public authority defense, but denied the

Government’s motion as to entrapment by estoppel. ECF No. 391.

Ultimately, however, Defendant did not request that the jury be

instructed as to entrapment by estoppel.

          The trial began on January 7, 2016. After the close of

the Government’s case, Defendant moved for a judgment of

acquittal as to all charges, a motion which the Court took under

advisement. On February 12, 2016, the jury returned its verdict

after approximately three and a half days of deliberation. The

jury convicted Defendant of four counts of health care fraud

(Counts 3, 4, 9, and 14), and acquitted her of conspiracy to

commit health care fraud (Count 1) and the other nine health

care fraud counts. ECF No. 423. Defendant is scheduled to be

sentenced on May 24, 2016. ECF No. 426.

          On February 17, 2016, Defendant filed a renewed motion

for a judgment of acquittal pursuant to Federal Rule of Criminal

Procedure 29 and, in the alternative, for a new trial pursuant

to Rule 33. ECF No. 428. The Government responded to this

motion, ECF No. 429, and the Court held a hearing on April 13,

2016. ECF No. 431. Following the hearing, Defendant submitted a

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supplemental letter brief in support of her motion. ECF No. 432.

The Government, in turn, submitted a response to Defendant’s

supplemental letter brief. ECF No. 433. Accordingly, the motion

is now ripe for disposition.


     B.    Essential Elements of the Offense

           Health care fraud--the offense as to which McGill was

convicted--is criminalized by 18 U.S.C. § 1347, which provides

in relevant part that:

     Whoever knowingly and willfully executes, or attempts
     to execute, a scheme or artifice--

     (1)   to defraud any health care benefit program; or

     (2)   to obtain, by means of false or fraudulent
           pretenses, representations, or promises, any of
           the money or property owned by, or under the
           custody or control of, any health care benefit
           program,

                in connection with the delivery of or
                payment for health care benefits, items, or
                services, shall be [guilty of a crime.]

A “health care benefit program” is defined as “any public or

private plan or contract, affecting commerce, under which any

medical benefit, item, or service is provided to any individual,

and includes any individual or entity who is providing a medical

benefit, item, or service for which payment may be made under

the plan or contract.” 18 U.S.C. § 24(b).




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II.   STANDARD OF REVIEW

           A.    Motion for Judgment of Acquittal

            Rule 29 of the Federal Rules of Criminal Procedure

provides that “the court on the defendant’s motion must enter a

judgment of acquittal of any offense for which the evidence is

insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a).

When faced with a Rule 29 motion, the court must “review the

record in the light most favorable to the prosecution to

determine whether any rational trier of fact could have found

proof of guilt beyond a reasonable doubt based on the available

evidence.” United States v. Wolfe, 245 F.3d 257, 261 (3d Cir.

2001) (citing Jackson v. Virginia, 443 U.S. 307 (1979)). The

court “must be ever vigilant in the context of [Rule] 29 not to

usurp the role of the jury by weighing credibility and assigning

weight to the evidence, or by substituting its judgment for that

of the jury.” United States v. Brodie, 403 F.3d 123, 133 (3d

Cir. 2005) (citing United States v. Jannotti, 673 F.2d 578, 581

(3d Cir. 1982)). To that end, all reasonable inferences must be

drawn in favor of the jury’s verdict. United States v.

Anderskow, 88 F.3d 245, 251 (3d Cir. 1996). Thus, the defendant

seeking relief under Rule 29 bears “a very heavy burden.” United

States v. Anderson, 108 F.3d 478, 481 (3d Cir. 1997). “[A]

finding of insufficiency should ‘be confined to cases where the

prosecution’s failure is clear.’” United States v. Smith, 294

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F.3d 473, 477 (3d Cir. 2002) (quoting United States v. Leon, 739

F.2d 885, 891 (3d Cir. 1984)).


     B.   Motion for New Trial

          Upon a defendant’s motion under Rule 33, “the court

may vacate any judgment and grant a new trial if the interest of

justice so requires.” Fed. R. Crim. P. 33(a). Motions for new

trial in the interest of justice are committed to the sound

discretion of the district court. United States v. Brennan, 326

F.3d 176, 189 (3d Cir. 2003). Under Rule 33, the court does not

view the evidence in the light most favorable to the government

but rather must exercise its own judgment in assessing the

government’s case. United States v. Silveus, 542 F.3d 993, 1004

(3d Cir. 2008). However, “[a] district court can order a new

trial on the ground that the jury’s verdict is contrary to the

weight of the evidence only if it ‘believes that there is a

serious danger that a miscarriage of justice has occurred--that

is, that an innocent person has been convicted.’” United States

v. Johnson, 302 F.3d 139, 150 (3d Cir. 2002) (quoting United

States v. Santos, 20 F.3d 280, 285 (7th Cir. 1994)).




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III. DEFENDANT’S MOTION FOR ACQUITTAL

           Defendant raises several arguments in her motion. 2

First, she asserts that the Government failed to present

sufficient proof that Medicare was a health care benefit program

affecting commerce as required by 18 U.S.C. § 1347. Second, she

argues that Alex Pugman’s testimony negated the Government’s

proof that she intended to defraud Medicare. Third, she argues

that the health care fraud statute, § 1347, is void for

vagueness as applied to her conviction, because the Government

did not prove that she had specific intent to violate § 1347 and

the underlying Medicare regulations alleged in the Indictment.

Fourth, she maintains that the Government failed to prove that

she personally submitted bills to Medicare or assisted anyone in

submitting them. Fifth, she argues that the statute of

limitations barred the counts of conviction, because the

Government presented evidence of conduct that occurred before

March 21, 2007. And sixth, she submits that the convictions for

Counts 4 and 9 are insufficient, because a cooperating

government witness, Richard Barber, falsified the patient

records at issue in those counts. The Court will address each of

these arguments in turn.

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          The arguments presented by defense counsel at the
April 13, 2016, hearing varied in certain respects from the
arguments presented in Defendant’s brief. The Court will note
these differences where relevant.

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     A.    Evidence that Medicare is a Health Care Benefit
           Program that Affects Interstate Commerce

           Defendant first argues that the Government presented

insufficient evidence that Medicare is a health care benefit

program affecting interstate commerce, an element of health care

fraud under 18 U.S.C. § 1347, because no government witness

testified (1) about the effect on interstate commerce, or (2)

that Cahaba Government Benefit Administrators, LLC (“Cahaba”),

the Medicare contractor that interfaced with HCH, was a “health

care benefit program.” Defendant therefore submits that there

was insufficient evidence to convict her of health care fraud.

Def.’s Mot. Acquittal at 6-7, ECF No. 428.

           At the conclusion of the trial, the Court instructed

the jury that to convict Defendant of health care fraud in

violation of § 1347, the Government was required to prove beyond

a reasonable doubt that:

     91.   First: That the defendant, Patricia McGill,
           knowingly and willfully devised or participated
           in a scheme to defraud Medicare and to obtain, by
           means   of   false   or    fraudulent  pretenses,
           representations, or promises, any of the money or
           property owned by, or under the custody or
           control of Medicare in connection with the
           delivery of or payment for health care benefits,
           items, or services;

     92.   Second: That Patricia            McGill   acted     with    the
           intent to defraud; and

     93.   Third: That Medicare was a public plan or
           contract, affecting commerce, under which medical



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           benefits, items, or services were provided to any
           individual.

Jury Instrs. ¶¶ 90-93.

           As to the third element, the Court instructed the jury

as follows:

     107. The third element that the government must prove
          beyond a reasonable doubt is that Medicare is a
          “health care benefit program.” A “health care
          benefit program” is any public or private plan or
          contract, affecting commerce, under which any
          medical benefit, item, or service is provided to
          any individual, and includes any individual or
          entity who is providing a medical benefit, item,
          or service for which payment may be made under
          the plan or contract.

     108. The government must prove beyond a reasonable
          doubt that the public plan or contract affected
          or could have affected interstate commerce.
          Affecting interstate commerce means any action,
          which in any way, interferes with, changes, or
          alters the movement or transportation or flow of
          goods, merchandise, money, or other property in
          commerce between or among states. The effect can
          be minimal.

Id. ¶¶ 107-08. The Government was therefore required to prove

that Medicare (1) affects commerce and (2) provides medical

benefits, items, or service in exchange for payment under the

plan or contract. Defendant contends that the Government

presented insufficient evidence as to both prongs. The Court

will address each argument in turn.




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           1.    Effect on Interstate Commerce

           Defendant first argues that “[t]he government simply

forgot to put on evidence of the commerce element of the offense

of health care fraud,” Def.’s Suppl. Br. at 2, ECF No. 432,

because “no government witness testified about any interstate

commerce effect.” Def.’s Mot. Acquittal at 7.

           The Third Circuit has held that 18 U.S.C. § 24(b)’s

inclusion of the phrase “affecting commerce” in the definition

of “health care benefit program” is a jurisdictional element,

which signals Congress’s intent to invoke its full authority

under the Commerce Clause. United States v. Whited, 311 F.3d

259, 268 (3d Cir. 2002). While the Third Circuit has not

specifically addressed the quantity of evidence necessary to

establish that a health care benefit program affects interstate

commerce, it has observed that “[g]iven the complex state of

modern health care delivery, it is difficult to envision any

public or private health care plan or contract that does not

affect commerce.” Id. Thus, this prerequisite “in actuality

likely eliminates little from the scope of the statute’s

operation.” Id. Nonetheless, “if there is in fact a set of

health care benefit programs that do not affect commerce, the

presence of the jurisdictional element will properly exclude

them.” Id.



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           Here, the Court instructed the jury that “affecting

commerce” means affecting interstate commerce and that it need

only find a “minimal” effect on interstate commerce to conclude

that the Government has met its burden. Jury Instrs. ¶ 108.

Defendant does not argue that Medicare’s effect on interstate

commerce is too attenuated or trivial to give rise to federal

jurisdiction in this case. Instead, she argues that the

Government did not present any evidence of an actual effect on

interstate commerce.

           The Court is not persuaded by this argument. The

Government presented sufficient evidence from which a rational

jury could infer an actual impact on interstate commerce. The

Government’s Medicare expert, Jean Stone, testified that

Medicare is a federal health insurance program with millions of

beneficiaries that processes billions of claims every year.

Gov’t App. ¶ 12. 3 In particular, Stone described the electronic

bill submission and claims reimbursement systems used by

Medicare and its contractors, including Cahaba. Id. ¶ 4.

           Defendant contends that Stone’s testimony concerning

“millions” of Medicare beneficiaries is insufficient to give

3
          The Government has asked that its Appendix of
Evidence, which it attached to its response to Defendant’s
motion, be filed under seal due its inclusion of patients’ names
and medical information. The Court will grant this motion and
will refer to patients by their initials only throughout this
Memorandum.

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rise to an inference of an effect on interstate commerce,

because there are millions of Medicare beneficiaries within

Pennsylvania alone. Def.’s Suppl. Br. at 1. In support of this

argument, she points to a report prepared by the U.S. Department

of Health and Human Services, Centers for Medicare and Medicaid

Services, showing that over two million individuals living in

Pennsylvania were enrolled in Medicare in 2007. Def.’s Suppl.

Br. Ex. 1, ECF No. 432-1.

           Notwithstanding that Defendant never presented this

report during the trial and it therefore may not be considered

by the Court as part of the record, the report does not

undermine the jury’s verdict. When reviewing a motion for

judgment of acquittal, the Court’s task is not to find the one

possible set of facts or one interpretation of the evidence upon

which the jury’s verdict cannot stand. Rather, the Court is to

“review the record in the light most favorable to the

prosecution to determine whether any rational trier of fact

could have found proof of guilt beyond a reasonable doubt based

on the available evidence.” Wolfe, 245 F.3d at 261. A rational

jury could have properly found beyond a reasonable doubt that

the millions of beneficiaries referenced by Stone resided in

states other than Pennsylvania and concluded that Medicare

affects interstate commerce by processing and paying out claims

on a national scale.

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            Further, the Government presented other evidence of

Medicare’s effect on interstate commerce. For instance, Alex

Pugman, HCH’s owner, testified that HCH electronically submitted

biweekly claims to Cahaba, Medicare’s fiscal intermediary, which

was located in Des Moines, Iowa, during the relevant time

period. Gov’t App. ¶ 4; Gov’t Ex. 12. Pugman also identified

Federal Express air bills that HCH used to send patient files

from its Philadelphia office to Cahaba’s Des Moines office

during an audit. Gov’t Ex. 26-4, at 67. In addition, Special

Agent Matthew Hirschy testified that Medicare did not reimburse

HCH separately for the costs of supplies and equipment provided

to hospice patients and that HCH purchased these items from

funds that Medicare transferred to HCH through the electronic

payment system. Gov’t App. ¶ 130. He further testified that

Medicare electronically transferred approximately $44 million to

HCH during the relevant time period. Id. ¶ 131.

            From this evidence, a rational jury could have

inferred an actual effect on interstate commerce. As the Court

instructed, such effect need only be “minimal.” For that reason,

the Court will deny Defendant’s motion for acquittal on this

ground. 4


4
          In its response, the Government directs the Court to
Third Circuit law developed under the Hobbs Act, 18 U.S.C.
§ 1951, which contains similar “affects commerce” language. The
Government notes that other circuits have looked to case law
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           2.    Health Care Benefit Program

           At the hearing on Defendant’s motion for a judgment of

acquittal, defense counsel argued, for the first time, that

Cahaba, the Medicare contractor that processed HCH’s claims, is

not a health care benefit program. In her supplemental letter

brief, she again raised this argument, asserting that the

Centers for Medicare and Medicaid Services (“CMS”) does not fit

the statutory definition of health care benefit program, because

it “does not provide medical benefits, items or services to



developed under the Hobbs Act when interpreting the “affects
commerce” term in the health care fraud statute. Gov’t’s Resp.
at 8-9. The Government points to case law interpreting the Hobbs
Act’s “affects commerce” element as requiring only a “potential,
not actual” effect on interstate commerce. United States v.
Powell, 693 F.3d 398, 402 (3d Cir. 2012). Defendant, however,
suggests that upholding her conviction based on a “potential”
interstate commerce effect would be improper, because the jury
was not instructed that it need only find a potential effect and
the Government did not object to the instructions requiring the
jury to find an actual effect on commerce.

          If the Court were to borrow from precedent under the
Hobbs Act, the Government was not required to present evidence
as to an actual effect on interstate commerce in this case.
Rather, the evidence was sufficient if the jury could infer a
potential effect. Cf. United States v. Urban, 404 F.3d 754, 762
(3d Cir. 2005) (upholding a jury instruction directing that
“[y]ou do not even have to find that there was an actual effect
on commerce. All that is necessary to prove this element is that
the natural consequences of the extortion . . . potentially
caused an effect on interstate commerce to any degree, however
minimal or slight”). However, the Court need not determine
whether Hobbs Act jurisprudence requiring only a potential
effect on interstate commerce should be extended to the health
care fraud statute, § 1347, because, as explained above, the
Court finds there is sufficient evidence of actual effect on
interstate commerce to sustain the jury’s verdict.
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individuals” itself, and the Government never presented evidence

as to an agency relationship between Cahaba, CMS, and the

Medicare program. Def.’s Suppl. Br. at 1-2.

           The Third Circuit explained the relationship between

Medicare and these entities in an appeal brought by one of

McGill’s co-defendants:

     Medicare, as is well known, is a federal health
     benefits program providing financial assistance to
     senior and disabled citizens to cover medical costs.
     Fischer v. United States, 529 U.S. 667, 671 (2000).
     “Medicare attains its objectives through an elaborate
     funding structure,” id. at 673, one aspect of which
     involves reimbursement to health care providers for
     medical   treatment   costs  incurred    in    furnishing
     services to Medicare recipients, id. at 677, 680.
     Providers are reimbursed by the Centers for Medicare
     and Medicaid Services (“CMS”) through a “fiscal
     intermediary,”   which   is  a   private    entity   that
     contracts with CMS to help it administer the Medicare
     program by determining payment amounts and making
     payments. 42 U.S.C. §§ 1395h(a), 1395kk–1(a); 42
     C.F.R. § 405.902; see also Fischer, 529 U.S. at 677.

United States v. Kolodesh, 787 F.3d 224, 229-30 (3d Cir. 2015).

Cahaba is one such Medicare fiscal intermediary. Id. at 231.

           As the Government correctly explains in it

supplemental response, “[t]he question is not whether CMS or

Cahaba . . . is a health care benefit program,” but rather

whether Medicare is such a program. Gov’t’s Suppl. Resp. at 3,

ECF No. 433. The Government presented sufficient evidence that

“CMS and Cahaba operated as Medicare’s agents and their

activities constituted commercial activity by Medicare.” Id.


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Specifically, Stone explained that Medicare is administered by

CMS. Gov’t App. ¶ 1. She also testified that there were two

Medicare intermediaries during the relevant time period: Cahaba

Safeguard Services, which was responsible for fraud detection

and prevention, and Cahaba Government Benefit Administrators,

which processed and paid out Medicare claims. Id. ¶ 2. And Stone

detailed how Medicare and its contractors manage claims,

including the electronic bill submission and claims

reimbursement systems used by Medicare. Id. ¶ 4.

           Viewing this evidence in the light most favorable to

the Government, a rational jury could have found that Cahaba and

CMS were agents of Medicare, such that any conduct on their

part--namely, processing and paying out claims for hospice

services--is attributable to Medicare. For these reasons,

Defendant’s argument concerning insufficient evidence that

Medicare was a health care benefit program fails.


     B.    Evidence of Defendant’s Intent to Defraud Medicare

           Defendant next argues that the Government failed to

present sufficient evidence as to § 1347’s intent to defraud

element, because the testimony of the Government’s “chief

witness,” Alex Pugman, established that Defendant “was not part

of the conspiracy and that the government was well aware of that

because of Title III tapes in Russian which confirmed that the


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conspirators kept her out of it for fear she would report them.”

Def.’s Mot. Acquittal at 7. Specifically, she points to Pugman’s

testimony on cross-examination that after the FBI searched HCH’s

office in March 2008, Pugman went into Defendant’s office,

apologized to her, and admitted that he had lied to her about

whether patients were appropriate for hospice services. Id. She

also argues that “[n]o witness testified that [she] intended to

defraud anyone by any document in any count of conviction.” Id.

at 8.

              Defendant, however, does not cite to any authority for

the proposition that the testimony of any one witness, even the

prosecution’s chief witness, negates an element of the offense

entirely. When ruling on a Rule 29 motion, the Court cannot

assess the credibility of witnesses or assign weight to certain

pieces of evidence. Brodie, 403 F.3d at 133. As the Government

notes in its response, “Pugman’s testimony on cross-examination

in which he attempted to minimize McGill’s role in the

fraudulent scheme is only one piece of the universe of evidence

which the jury had to consider.” 5 Gov’t’s Resp. at 12, ECF No.

429.


5
          The Government also takes issue with Defendant’s
contention that Pugman’s testimony, when considered as a whole,
was exculpatory. For example, the Government points to Pugman’s
testimony that he was aware that McGill has pre-signed death
certificates. Gov’t’s Resp. at 13. Pugman also clarified on
redirect examination that McGill played a role in the HCH fraud
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           Defendant’s contention that “[n]o witness testified

that Mrs. McGill intended to defraud anyone by any document in

any count of conviction,” Def.’s Mot. Acquittal at 8, is also

unavailing. The Court instructed the jury that “[i]n considering

whether Patricia McGill acted with the intent to defraud, you

may consider, among other things, whether Patricia McGill acted

with a desire or purpose to bring about some gain or benefit to

herself or to someone else at the expense of Medicare or with a

desire or purpose to cause some loss to Medicare.” Jury Instrs.

¶ 103. The Government was not required to present direct

evidence as to Defendant’s intent. Rather, it could show intent

to defraud from the surrounding facts and circumstances. See

United States v. Klein, 515 F.2d 751, 754 (3d Cir. 1975)

(“Circumstantial evidence is clearly proper to show [knowledge

or intent,] especially . . . where direct evidence is likely to

be scant.”); see also United States v. Rosario, 118 F.3d 160,

163-64 & n.7 (3d Cir. 1997) (noting that the jury could infer

intent to defraud and knowing and willful conduct from evidence

that the defendant forged the instrument).

           And finally, to the extent that Defendant argues that

her acquittal on the conspiracy count is inconsistent with the

jury’s verdicts on certain substantive health care fraud counts,


scheme, although, in his opinion, she was less involved than
others. Id.

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this argument does not present a ground for acquittal on the

substantive counts. At the hearing, defense counsel conceded

that inconsistent verdicts are ordinarily not a bar to

conviction but maintained that the indictment in this case

presents an exception to this general rule, because, according

to defense counsel, conspiracy to commit health care fraud, in

violation of § 1349, and participation in a scheme to commit

health care fraud, in violation of § 1347, require the “same

intent.” Defense counsel, however, has failed to point to any

authority in support of this proposition.

           As a general rule, the Supreme Court has held that

“inconsistent verdicts are constitutionally tolerable.” Dowling

v. United States, 493 U.S. 342, 353-54 (1990) (citing Standefer

v. United States, 447 U.S. 10, 25 (1980)); see also United

States v. Powell, 469 U.S. 57, 65 (1984). When a defendant is

acquitted on one count and convicted on another, “in most

circumstances ‘the most that can be said . . . is that the

verdict shows that . . . the jury did not speak their real

conclusions’ on one of the convictions.” United States v. Maury,

695 F.3d 227, 264 (3d Cir. 2012) (alterations in original)

(quoting Dunn v. United States, 284 U.S. 390, 393 (1932)). “As a

matter of law, courts treat this situation as an instance of

juror lenity, undeserving as a basis for overturning a



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conviction.” Id. (citing United States v. Vastine, 363 F.2d 853,

855 (3d Cir. 1966)).

           The Court has undertaken a search of federal case law

and has found that district courts apply this general rule where

the defendant is found guilty of substantive health care fraud

counts but acquitted of conspiracy to commit health care fraud.

See United States v. Adegboye, No. 11-0030, slip op. at 6 (W.D.

Okla. Oct. 13, 2011) (denying the defendant’s motion for a new

trial where the jury acquitted the defendant of conspiring to

commit health care fraud but convicted him of aiding and

abetting health care fraud, because “the elements of the

conspiracy charge are not the same as those governing the

specific allegations of health care fraud, nor . . . the

elements required to show that the defendant aided and abetted

the commission of the health care fraud” and the jury “was

directed to consider each crime . . . separately”), aff’d, 732

F.3d 1195 (10th Cir. 2013); United States v. Shubaralyan, No.

08-0532, slip op. at 11 (C.D. Cal. Aug. 14, 2009) (rejecting the

defendant’s argument that the inconsistency of her convictions

of the § 1347 substantive counts of health care fraud and

acquittal on the § 1349 conspiracy count was grounds for

acquittal or a new trial), aff’d, 428 F. App’x 685 (9th Cir.

2011).



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           Turning to the evidence presented at trial in this

case, a rational jury could infer Defendant’s intent to defraud

from her conduct. The Court will briefly summarize some of that

evidence here.

           Count 3 pertained to HCH patient F.G. Special Agent

Hirschy testified that F.G. was admitted and discharged from

hospice by HCH five separate times between May 2006 and October

2008. Gov’t App. ¶ 133; Gov’t Ex. 21. F.G. was one of the

patients selected for discharge by Pugman and McGill in October

2007 in response to the Medicare cost cap issue. Gov’t App.

¶¶ 25, 49-51; Gov’t Ex. 15 (voicemail from McGill to Richard

Barber explaining the need to “thin the herd” of “stable”

patients for “monetary” reasons). After HCH resolved the cost

cap issue, F.G. was re-admitted by HCH--a practice that McGill

admitted was fraudulent in recorded conversations. Gov’t App.

¶¶ 26, 126-27. For instance, McGill told Irina Chudnovsky that

“[i]f Medicare comes in and brings the feds in with them, he’ll

lose this company.” Id. ¶ 127.

           F.G. did not die until January 2011. Id. ¶ 133.

Eugenia Roytenberg, an RN employed at HCH, testified that F.G.

was inappropriate for hospice. Id. ¶ 107. Roytenberg testified

that F.G.’s patient file contained Interdisciplinary Team

(“IDT”) care plan meeting records signed by McGill for December

2006 as well as a large portion of 2008. Id.

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           Count 4 pertained to HCH patient M.Q. Richard Barber,

another RN at HCH, testified that M.Q. remained on hospice from

November 2005 through February 2007. Id. ¶ 57. Barber testified

about IDT care plan meeting records signed by McGill for nearly

the entire time that M.Q. remained under HCH’s care. Id.

           Barber further testified about cycling M.Q. on and off

hospice. Specifically, he stated that M.Q. was discharged from

HCH in January 2007 because she was admitted to a hospital. Id.;

Gov’t Ex. 22. After her hospital stay, M.Q. was re-certified for

hospice services four times between April and December 2007.

Gov’t App. ¶ 57.

           Barber testified that M.Q. was discharged from HCH on

November 4, 2007, due to the Medicare cost cap. Id. Thereafter,

M.Q. was re-enrolled in HCH hospice care for the period between

May 23 and July 21, 2008, after the Medicare cost cap issue was

resolved. Id. During this time, M.Q. was revoked and discharged

on May 30, 2008, because she went into the hospital. Id. M.Q.

returned to HCH after she was discharged from the hospital and

re-certified from July 2 to August 30, 2008, and from August 31

to October 29, 2008. Id. Defendant signed IDT care plan meeting

records for M.Q. during this period. Gov’t Exs. 22-4, 22-6.

           M.Q. did not pass away until January 2014. Gov’t Ex.

16. Barber testified that M.Q. was not appropriate for hospice.

Gov’t App. ¶ 57. He testified that he wrote false continuous

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care notes for M.Q. Id. ¶ 58; Gov’t Ex. 22-6, 22-7. In addition,

Barber testified that Timothy Wiley wrote false continuous care

notes for M.Q. that were incorporated into her patient file.

Gov’t App. ¶ 58; Gov’t Ex. 22-5. Cecelia Wiley, HCH’s office

manager, testified that her husband, Timothy Wiley, a high

school janitor, never trained as a home health aide (“HHA”) or

received an HHA certification, but was paid $9/hour by HCH to

fabricate continuous care notes. Gov’t App. ¶ 76. McGill signed

HCH training records for Timothy Wiley, even though he never

attended such trainings. Id. ¶ 78.

           Count 9 concerned HCH patient J.G., who was a patient

of HCH nurse Christine Parker. Id. ¶ 100. Parker testified that

she did not believe J.G. was appropriate for hospice care and

that she shared this concern with McGill. Id. Barber also

testified that he cared for J.G. and that she was inappropriate

for hospice care. Id. ¶ 63. Specifically, Barber testified that

J.G. was inappropriate at the time he initially enrolled her in

HCH in September 2005. Id. McGill signed IDT care plan records

for J.G. for various time periods between September 2005 and

April 2007. Id.; Gov’t Ex. 27-2.

           Parker testified that in April 2007, she told McGill

that Luda Novikov, a nursing supervisor at HCH, asked her to

change J.G.’s weight in her patient file. Gov’t App. ¶ 101.

Parker refused to make the change. Id. ¶ 102. A few days later,

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Parker checked J.G.’s file and discovered that someone else had

changed the patient’s weight. Id. Parker took the file to McGill

and showed her the false entry. Id. Although McGill removed the

page from the file while Parker was present, Parker testified

that she checked the file again a few days later and discovered

the page containing the fabricated weight had been placed back

in the file. Id. The false entry was included in the patient

file submitted to Medicare during Cahaba’s audit of HCH. Gov’t

Ex. 27-3.

            Finally, Count 14 pertained to HCH patient J.H. Ed

Hearn, an RN who worked at HCH, testified that J.H. was

inappropriate for hospice care. Gov’t App. ¶ 92. J.H. was

admitted for hospice services in December 2006 and not re-

certified in October 2007. Id. ¶ 136. Hearn identified IDT care

plan meeting records for J.H. signed by McGill for the period

between January and September 2007. Gov’t Ex. 32-1. Hearn

testified that J.H. was selected for discharge by Pugman and

McGill when the Medicare cost cap problem surfaced and was never

re-admitted by HCH. Gov’t App. ¶ 92. J.H. died several years

later, in July 2011. Id. ¶ 136.

            Pugman, who was an RN and sometimes visited HCH

patients, testified that he visited J.H. on several occasions.

Id. ¶ 31. During an intercepted conversation on August 15, 2007,

Pugman told Cecilia Wiley that J.H. was “not hospice material.”

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Gov’t Ex. A3. When Pugman expressed concern that medical records

would not support J.H.’s hospice certification, Wiley responded,

“That’s okay, I can fix that.” Id. Cecilia Wiley later testified

that she falsified HHA Weekly Visit Notes for J.H. Id. ¶ 72;

Gov’t Ex. 32-2.

           A rational jury could have found that McGill knew that

each of these four patients was inappropriate for hospice care

based on, inter alia, the length of time that the patient

remained on hospice, the patient’s “cycling” on and off hospice,

and his or her discharge and, in most cases, later re-enrollment

in hospice after HCH resolved the cost cap issue. For these

reasons, Defendant’s argument as to the sufficiency of the

evidence of intent fails.


     C.    Proof of Knowledge of Section 1347 and Medicare
           Regulations

           Defendant next argues that she should be acquitted

because the Court failed to instruct the jury that that she had

“knowledge of the law or Medicare regulations she was accused of

violating.” Def.’s Mot. Acquittal at 12. Defendant essentially

rehashes the argument she made in a pretrial motion to dismiss,

ECF No. 380, which the Court rejected, ECF No. 391. Defendant

again raised the argument during the charge conference, wherein

defense counsel requested an instruction that the Government had

to prove that McGill had actual knowledge of the health care

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fraud statute and specific intent to violate it, thus preserving

the issue. Because the Court has not previously issued a written

decision on this issue, 6 the Court will address the argument

here.

           1.    Role of Medicare Regulations

           Defendant claims that she was convicted of violating

“Medicare hospice regulations that are confusing and complex and

that the government refused to delineate, or erroneously

delineated, to the jury.” Def.’s Mot. Acquittal at 8. She

contends that the Government’s theory of the case was based on

the false premise that a patient may remain on hospice for only

six months pursuant to Medicare regulations, whereas the

applicable regulation, 42 C.F.R. § 418.21, 7 allows for an


6
          The Court did not address Defendant’s motion to
dismiss on void for vagueness grounds in its Memorandum on the
parties’ pretrial motions, ECF No. 384, because Defendant’s
motion to dismiss was untimely. The Final Scheduling Order
directed that all pretrial motions were to be filed on or before
December 16, 2015, ECF No. 345, but the motion was not filed
until December 22, 2015, ECF No. 380.
7
          The regulation referenced by Defendant is entitled
“Duration of Hospice Care Coverage-Election Periods” and
provides as follows:

     (a)   Subject to the conditions set forth in this part,
           an individual may elect to receive hospice care
           during one or more of the following election
           periods:

                 (1)   An initial 90–day period;

                 (2)   A subsequent 90–day period; or
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unlimited number of extensions of an individual’s duration of

hospice care coverage--and even allows for discharge and re-

admittance. Def.’s Mot. Acquittal at 9. She likewise points to

the regulation requiring the hospice company to “obtain written

certification of terminal illness” “based on the physician’s or

medical director’s clinical judgment” for each election period,

42 C.F.R. § 418.22(a)(1), (b), and argues that nothing in the

regulation requires nurses to review, or “police,” the doctors

who make these certifications. Def.’s Mot. Acquittal at 9.

Defendant says that “[i]f the Government’s theory is that nurses

are the final arbiter, that effectively lets doctors off the

hook” and isolates doctors from criminal liability by pointing

at their subordinates. Id.

           The Government responds that Defendant’s assertion

that she was charged with criminally violating Medicare

regulations and that the jury convicted her of “violating a

strict six-month limit” is erroneous. Gov’t’s Resp. at 18.




                 (3)   An unlimited number of subsequent 60–
                       day periods.

     (b)   The periods of care are available in the order
           listed and may be elected separately at different
           times.

42 C.F.R. § 418.21 (2006).

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Therefore, Defendant’s focus on 42 C.F.R. §§ 418.21 and 418.22

is misguided.

           The Government’s position is correct. Defendant was

not convicted of violating any one particular Medicare

regulation, but rather the health care fraud statute, 18 U.S.C.

§ 1347. Accordingly, the focus of any due process and vagueness

analysis must be § 1347, not the Medicare regulations.

           Turning to § 1347, the conduct criminalized is not the

violation of a Medicare regulation, such as the regulations

regarding election periods or requiring a doctor’s certification

as to terminal illness. Rather, the crux of a violation is the

defendant’s acts of misrepresentation in connection with the

delivery of, or payment for, health care benefits, items, or

services. See United States v. Jones, 471 F.3d 478, 481-82 (3d

Cir. 2006) (explaining that “[t]he plain language of [§ 1347]

clearly prohibits health care fraud by knowingly or willfully

using ‘false or fraudulent pretenses, representations, or

promises’ to obtain the money or property of a health care

benefit program in connection with the delivery of, or payment

for, health care benefits, items, or services” and that

therefore the Government must establish some “type of

misrepresentation” by the defendant). Thus, the Court was not

required to instruct the jury as to any particular Medicare

regulation concerning the provision of hospice services.

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           Viewing the evidence in the light most favorable to

the Government, a rational jury could find that McGill directed

and authorized nursing staff and nursing supervisors to

fabricate supporting documentation for patient files to

substantiate fraudulent claims that HCH submitted to Medicare

for patients inappropriate for hospice care, which involved

altering patient charts and falsifying nursing notes to create

the appearance on paper that the patient’s medical condition was

worse than it actually was. ECF No. 1. For instance, McGill

instructed nurses working under her to “beef up the chart” where

nursing notes did not support that the patient was appropriate

for hospice service. Gov’t App. ¶ 53. Intercepted conversations

played during the trial also demonstrated that McGill authorized

and instructed nurses to revoke hospice patients who were

admitted to the hospital so that HCH would not be held

responsible for hospitalization costs, see, e.g., Gov’t Ex. 25;

Gov’t App. ¶ 55, and that McGill oversaw the selection of

patients to be discharged when HCH was alerted to the Medicare

cost cap problem and the later re-enrollment of many of those

patients, see, e.g., Gov’t App. ¶¶ 25, 49-52, 126-27.

           A rational fact finder might also have found that

McGill personally filled in gaps in nursing notes. As described

above, evidence was presented at trial that McGill falsified

training certifications for Timothy Wiley, a janitor with no

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health care training, and reviewed false notes that he had

authored in patient files. The jury might also have concluded

that McGill placed the note containing the fabricated weight,

which Parker had flagged for McGill as fraudulent, back in the

patient’s file.

           Accordingly, the core of the allegations against

McGill, and the evidence presented by the Government at trial,

concerned acts of misrepresentation--not McGill’s violation of

any one particular regulation or failure to “police” doctors.


           2.     2010 Amendment to Section 1347

           Defendant also argues that § 1347 was amended in 2010

“to reduce the intent requirement of the statute by adding

paragraph (b) which lessens the government’s burden of proof by

eliminating the requirement of knowledge of the regulation.”

Def.’s Mot. Acquittal at 11. She maintains that “[t]he 2010

change reduced the level of intent required to prove a violation

of health care fraud under 18 U.S.C. § 1347, and thus made it

easier for the government to prove a violation.” Id. at 12. She

submits that before the amendment, the Government was required

to show the defendant’s specific intent to violate § 1347. Thus,

“[t]he failure to elicit from witnesses evidence of Mrs.

McGill’s knowledge of the regulation and her intent to violate




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it is an ex post facto and due process violation,” because it

lowered the Government’s burden of proof. Id. at 18.

           Defendant, however, fails to point to anything in the

legislative history for the 2010 amendment suggesting that

Congress intended to change the statute’s mens rea requirement.

Nor does she contend with the Third Circuit case, which was

brought by one of her co-defendants, dealing with this precise

issue, United States v. Shvets, 631 F. App’x 91 (3d Cir. 2015),

cert. denied, 136 S. Ct. 1526 (2016).

           Defendant points only to a 2011 case from the Northern

District of Georgia, United States v. Houser, No. 10-012, 2011

WL 2118847 (N.D. Ga. May 23, 2011). Def.’s Suppl. Br. at 2. A

closer reading of Houser reveals that it does not support

Defendant’s proposition.

           In Houser, the district court adopted the report and

recommendation (“R&R”) of a magistrate judge denying the

defendants’ motion to dismiss the indictment, which charged

conspiracy and health care fraud in violation of §§ 1349 and

1347, respectively. 2011 WL 2118847, at *1. The magistrate judge

included the post-2010 version of § 1347 in the R&R. Id. at *5.

Defendants objected to this citation, arguing that the

application of the amended statute violated the ex post facto

clause and the Due Process clause. Id.



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           The Houser court found that “the amended statute d[id]

not apply to Defendants,” because it “arguably lessens the mens

rea, and the Government’s allegations involve[d] conduct that

took place between June 2004 and September 2007.” Id. (emphasis

added). However, the court concluded that the inclusion of the

prior version of § 1347 in the R&R was “a clerical error” and

overruled the defendants’ objection to this citation, since “the

Indictment charges Defendants with a violation of the prior

version of § 1347.” Id. The Houser court therefore did not

determine whether the 2010 amendment actually lessened § 1347’s

mens rea requirement or whether the defendants’ ex post facto

argument was correct. Accordingly, Houser does not support

McGill’s argument.

           The Court instead turns to a case that squarely

addressed the issue of whether the 2010 amendment changed the

mens rea requirement: United States v. Shvets, 631 F. App’x 91

(3d Cir. 2015) (nonprecedential). On appeal, Shvets, a former

HCH nurse, argued that § 1347 required “proving defendant’s

knowledge of the statutes alleged to make her conduct criminal”

and that “the ‘knowingly and willfully’ element attaches to a

separate provision defining ‘health care benefit program[s]’ as

those which ‘affect[] commerce.’” Id. at 92 (alterations in

original). The Third Circuit found:



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            The proper definition of “willfully” under
 § 1347 hinges primarily on the nature of a 2010
 amendment to the statute, which states that “[w]ith
 respect to violations of this section, a person need
 not have actual knowledge of this section or specific
 intent to commit a violation of this section.” 18
 U.S.C. § 1347(b). The pre-2010 version of § 1347,
 under which Shvets was charged and convicted, does not
 contain this provision and is silent as to the
 definition    of   willfulness  under   the   statute.
 Therefore, the question is whether the 2010 amendment
 represents a substantive change in the statute’s mens
 rea requirement, or whether it was merely clarifying
 in nature.

           As conceded by Shvets’ trial counsel, the
 legislative history of the 2010 amendment forecloses
 Shvets’ current argument that § 1347 requires proof of
 the defendant’s knowledge of the statute. See 155
 Cong. Rec. S10853 (daily ed. Oct. 28, 2009) (statement
 of Sen. Kaufman) (“The bill . . . addresses confusion
 [and] . . . clarifies that ‘willful conduct’ in this
 context does not require proof that the defendant had
 actual knowledge of the law in question or specific
 intent to violate that law.”). And the weight of the
 case law interpreting § 1347 and the analogous Anti–
 Kickback   statute,   42   U.S.C.   §  1320a-7b,  only
 strengthens this conclusion. See United States v.
 Davis, 132 F.3d 1092, 1094 (5th Cir. 1998) (requiring
 “specific intent to do something the law forbids; that
 is to say, with bad purpose either to disobey or
 disregard the law”); United States v. Starks, 157 F.3d
 833, 837–39 (11th Cir. 1998) (holding that knowledge
 of the Anti–Kickback statute was not required); United
 States v. Jain, 93 F.3d 436, 440–41 (8th Cir. 1996)
 (requiring proof that the defendant “knew that his
 conduct was wrongful, rather than proof that he knew
 it violated a known legal duty”); United States v. Bay
 State Ambulance & Hosp. Rental Serv., Inc., 874 F.2d
 20, 33 (1st Cir. 1989) (holding that “willfully” means
 to do something the law prohibits).

           The only court of appeals to find that the
 pre–2010 version of § 1347 or the Anti–Kickback
 statute required a heightened level of intent is the
 Ninth Circuit. See Hanlester Network v. Shalala, 51
 F.3d 1390, 1400 (9th Cir. 1995) (holding that

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     “knowingly and willfully” in the Anti-Kickback statute
     required defendants to have knowledge of the statute
     and “specific intent to disobey the law”). However,
     the   2010   amendment  to   §   1347  rejected   this
     interpretation, codifying the majority view. See 155
     Cong. Rec. S10853 (daily ed. Oct. 28, 2009) (statement
     of Sen. Kaufman) (“This heightened mental state
     requirement may be appropriate for criminal violations
     of    hyper-technical   regulations,    but   it    is
     inappropriate for these crimes, which punish simple
     fraud.”).

               The District Court’s willfulness instruction
     was not erroneous.

Id. at 95-96.

            The Court has also conducted an independent review of

the legislative history and, supplementing the Third Circuit’s

conclusion in Shvets, finds that it forecloses Defendant’s

argument.

            The health care fraud statute was originally enacted

as part of the Health Insurance Portability and Accountability

Act of 1996. Pub. L. No. 104-191, tit. II, § 242(a)(1), 110

Stat. 1936, 2016-17 (1996). The legislative history in

connection with the original version of the statute provides

that the offense of health care fraud “should require proof of a

knowing and willful pattern of behavior” to “assure honest

mistakes by health care providers would not result in criminal

conviction or imprisonment.” H.R. Rep. No. 104-747, at 13

(1996).




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           Although the 2010 amendment to the health care fraud

statute was ultimately enacted as part of the Patient Protection

and Affordable Care Act, Pub. L. No. 111-148, tit. X,

§ 10606(b), 124 Stat. 119, 1008 (2010), the amendment was

initially proposed in a bill entitled the “Health Care Fraud

Enforcement Act of 2009,” S. 1959, 111th Cong. § 2(b) (2009),

which was sponsored by Senators Edward Kaufman and Patrick

Leahy, among others. Legislative history for the bill makes

clear that the amendment was clarifying in nature and not

intended to change the mens rea requirement:

     Both the Anti-Kickback Statute (42 U.S.C. § 1320a-7b)
     and the health care fraud statute (18 U.S.C. § 1347)
     include the term “willfully.” In both contexts, the
     Ninth Circuit Court of Appeals has read the term to
     require proof of a heightened and unwarranted mens rea
     on the part of the defendant. See Hanslester Network
     v. Shalala, 51 F.3d 1390 (9th Cir. 1995) (on appeal
     from    an    administrative     exclusion     proceeding,
     construing “knowingly and willfully” in the anti-
     kickback   statute    as   requiring   proof   both   that
     defendants know that the statute prohibits offering or
     paying remuneration to induce referrals and that
     defendants engage in the prohibited conduct with the
     specific intent to disobey the law); United States v.
     Awad, 551 F.3d 930 (9th Cir. 2009) (holding that
     “willfully”   in   18    U.S.C.  §   1347   requires   the
     government to prove that the defendant was aware that
     the conduct in question was unlawful). This heightened
     scienter requirement may be appropriate for criminal
     violations of hyper-technical regulations, but it is
     inappropriate for these crimes, which punish simple
     fraud. The Finance Committee health care reform bill
     (America’s Healthy Future Act) addresses this problem
     for the Anti-Kickback Statute, but not for 18 U.S.C. §
     1347. Accordingly, this section tracks the finance
     bill and clarifies that “willful conduct” in this
     context does not require proof that the defendant had

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     actual knowledge of the law in question or specific
     intent to violate that law.

Press Release, Sen. Patrick Leahy, Leahy, Judiciary Committee

Members Introduce Health Care Fraud Enforcement Bill (Oct. 28,

2009) (section-by-section explanation of various provisions of

the bill), available at https://www.leahy.senate.gov/press/

leahy-judiciary-committee-members-introduce-health-care-fraud-

enforcement-bill.

           When introducing the bill in the Senate, Senator

Kaufman explained that the bill “addresses confusion in the case

law over the appropriate meaning of ‘willful’ conduct,” and

referenced “the heightened mental state requirement” imposed by

the Ninth Circuit. 155 Cong. Rec. S10853 (daily ed. Oct. 28,

2009). Senator Kaufman went on to explain that the bill

“clarifies that ‘willful conduct’ in this context does not

require proof that the defendant had actual knowledge of the law

in question or specific intent to violate that law.” Id.

(emphasis added). Senator Leahy likewise explained that “[t]he

bill clarifies the intent requirement of [the] health care fraud

statute.” Id. at S10854 (emphasis added). The legislative

history, therefore, says nothing about changing the mens rea

requirement for health care fraud or somehow making it easier to

prosecute these offenses in circuits outside of the Ninth

Circuit.


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           Although the case is nonprecedential, the Court agrees

with Shvets, especially after undertaking its own review of the

legislative history in connection with the 2010 amendment. A

charge of violation of § 1347 is one of “simple fraud,” and the

Government was not required to prove that McGill had knowledge

of § 1347 or any particular Medicare regulation.

           For these reasons, Defendant’s due process and fair

notice argument fails as a matter of law.


     D.    McGill’s Nonparticipation in Billing

           Defendant next argues that “[t]here was no proof at

trial that she submitted any bills or assisted in their

submission.” 8 Def.’s Mot. Acquittal at 12. Defendant’s focus on




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          At the hearing, defense counsel seemed to present a
slightly different argument. Although she never used the terms
“constructive amendment” or “variance,” she seemed to suggest
that the evidence presented at trial as to McGill’s role in the
health care fraud scheme was different than that charged in the
Indictment, which alleged that she committed fraud “by
submitting and causing to be submitted fraudulent health care
insurance claims for patients in the approximate amounts listed
[in the Indictment] for hospice services purportedly provided by
Home Care Hospice over the dates identified [in the Indictment]
when defendant McGILL knew the claims were fraudulent.”
Indictment at 12 ¶ 2, ECF No. 1. Because defense counsel has not
presented any authority as to a possible constructive amendment
or variance (nor did she preserve such claims during the trial),
the Court will not address such arguments here. See United
States v. Vosburgh, 602 F.3d 512, 531-32 (3d Cir. 2010)
(explaining the differences between a constructive amendment and
variance of the indictment).

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the submission of bills to Medicare is misguided for at least

three reasons.

           First, and most importantly, the Government was

required to show only that Defendant “devised or participated in

a scheme to defraud Medicare and to obtain, by means of false or

fraudulent pretenses, representations, or promises, [money from

Medicare].” Jury Instrs. ¶ 91 (emphasis added). Thus, the

submission of bills is not an element of the health care fraud

offense.

           Second, even if the submission of bills to Medicare

were an element of the offense, the jury was not required to

find that McGill submitted those bills herself. The jury was

instructed as to an aiding and abetting theory of liability,

pursuant to 18 U.S.C. § 2. Id. ¶¶ 109-16. Under § 2, “[w]hoever

commits an offense against the United States or aids, abets,

counsels, commands, induces or procures its commission, is

punishable as a principal.” 18 U.S.C. § 2.

           And, third, it is not necessary that participants in a

health care fraud scheme actually submit a fraudulent claim,

because § 1347 also punishes “attempts to execute” a fraudulent

scheme or artifice. 18 U.S.C. § 1347(a).

           Defendant relies on a case from the Tenth Circuit,

United States v. Kline, 922 F.2d 610 (10th Cir. 1990), in

support of her argument. The Kline court held that there was

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insufficient evidence that the defendant made and presented

Medicare claim forms to support her conviction under the False

Claims Act, 18 U.S.C. § 287, where there was no evidence that

the defendant did the billing herself and the defendant’s co-

worker, who did the majority of the billing, testified that she

did not understand differences in the billing codes and had

therefore made mistakes when submitting claims. Id. at 611-12.

The False Claims Act, unlike the health care fraud statue,

requires proof that “the defendant knowingly made and presented

to a department or agency of the United States a false,

fraudulent or fictitious claim against the United States.” Id.

at 611. Defendant’s reliance on Kline is therefore inapposite,

because it was decided under an entirely different criminal

statute, which includes the submission of the claim as an

element of the offense.

           Focusing on McGill’s “participat[ion] in a scheme to

defraud” Medicare, the Government presented sufficient evidence

at trial from which a rational jury could conclude that McGill

knew HCH was billing Medicare for hospice services allegedly

provided to HCH patients. For instance, taken in the light most

favorable to the Government, the evidence showed that on May 3,

2007, McGill presided over a staff meeting during which she

explained to HCH nurses the ongoing Medicare audit and

emphasized the importance of ensuring that nursing notes and

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other documentation supported the patient’s hospice eligibility.

Gov’t App. ¶ 47. McGill also presided over another meeting on

October 18, 2007, during which she explained problems with the

Medicare cost cap to HCH nurses. Id. ¶ 50.

           A rational jury could have also determined from the

evidence presented at trial that McGill knew that certain

patients did not meet Medicare’s criteria for hospice

eligibility and that certain claims were therefore fraudulent.

During the October 18, 2007, meeting, McGill told HCH staff that

submitting claims to Medicare for inappropriate patients

constituted health care fraud. Id. ¶ 21; Gov’t Ex. 17, at 7

(“They have to meet criteria. . . . Here’s the deal, it’s fraud

if you are keeping them on and they don’t need to be on, it’s

fraud . . . .”). And, in a voicemail to Richard Barber on

October 16, 2007, McGill directed the discharge of a number of

patients after HCH received notice of the Medicare cost cap.

Gov’t App. ¶ 50; Gov’t Ex. A16. As explained above, the evidence

also showed that McGill knew the length of time that certain

patients remained on hospice service and that patients were

being cycled on and off hospice care, because she participated

in IDT care plan meetings for these patients.

           Finally, the evidence showed that McGill assisted

Pugman and other HCH employees with the submission of fraudulent

claims, because, in supervising the nursing staff, she reviewed

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patient charts and otherwise instructed her subordinates to

ensure that the nursing notes and other materials supported the

Medicare claims. Because the jury was charged with an aiding and

abetting theory, it need only find that Pugman and others

carried out a scheme to defraud Medicare by submitting

fraudulent claims for hospice-inappropriate patients and for

services that were never provided and that McGill aided and

abetted in this scheme.

           For these reasons, the Court will deny Defendant’s

motion for acquittal based on McGill’s alleged nonparticipation

in the Medicare billing process.


     E.    Statute of Limitations

           McGill next argues that the four counts of which she

was convicted relate to conduct that falls outside of the five-

year statute of limitations applicable to § 1347 health care

fraud. Def.’s Mot. Acquittal at 13-14. She claims that because

the Indictment was filed on March 21, 2012, any evidence of

activities and billing that occurred before March 21, 2007, must

be stricken. Id. Defendant provides no authority in support of

this proposition. The Government, on the other hand, argues that

“if the government establishes that some part of the fraud

scheme occurred within the limitations period, then all of the

evidence relating to the scheme is admissible.” Gov’t’s Resp. at


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23.

             The Court previously addressed Defendant’s argument

concerning the statute of limitations in its memorandum

disposing of certain of the parties’ pretrial motions. There,

the Court said the following:

                 Defendant also argues that the vast majority
       of the substantive counts of health care fraud contain
       dates of service or billings prior to March 21, 2007.
       Id. at 3. Defendant argues that these counts must be
       stricken or amended to begin with activities occurring
       no earlier than March 21, 2007. Id.

                 The statute of limitations for all offenses
       alleged in the Indictment is five years. 18 U.S.C.
       § 3282 (five-year statute of limitations for all
       federal noncapital defenses). Because the Indictment
       was filed on March 21, 2012, any conduct occurring
       before March 21, 2007, would fall outside the statute
       of limitations. The instant Indictment, however,
       contains conduct prior to that date.

                                       . . .

                 The statute of limitations generally begins
       to run when a crime is complete. Toussie v. United
       States, 397 U.S. 112, 115 (1970). However, the statute
       of limitations for a continuing offense begins to run
       at the end of the last act that was part of the
       offense. United States v. Amirnazmi, 645 F.3d 564, 592
       (3d Cir. 2011).

                                       . . .

                 Although the Third Circuit has not addressed
       whether health care fraud under 18 U.S.C. § 1347 is a
       continuing offense, other courts of appeals and
       district courts within this Circuit have held that it
       is--a   “conclusion  [that]  logically   follows  from
       § 1347’s ‘scheme’ language.” United States v. Salerno,
       No. 10-0301, 2011 WL 6141017, at *4 (M.D. Pa. Dec. 9,
       2011) (citing United States v. Davis, 471 F.3d 783,
       791 (7th Cir. 2006); United States v. Hickman, 331

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 F.3d 445, 447 n.8 (5th Cir. 2003)). Each of the health
 care fraud counts contains dates within the five-year
 statute   of  limitations   period.  Accordingly,  the
 substantive counts are also timely.

           Defendant claims that “the objective of the
 scheme was complete by February 23, 2007,” when HCH
 was notified by a Medicare contractor that it was
 going to be audited. Notice of the audit, however, did
 not terminate the conspiracy. The Third Circuit has
 noted   that   “[a]   conspiracy   may    have   multiple
 objectives, and the conspiracy endures beyond the
 attainment of its principal goal if ‘other subsidiary
 objectives’ have yet to be achieved.” United States v.
 Vasquez-Uribe, 429 F. App’x 131, 135 (3d Cir. 2011)
 (nonprecedential) (quoting United States v. Walker,
 653 F.2d 1343, 1349-50 (9th Cir. 1981)). Relevant
 here, “where enrichment is an object of a conspiracy,
 the   conspiracy   continues  until    the   conspirators
 receive the full economic benefits anticipated by
 their scheme.” Id. (quoting United States v. McNair,
 605 F.3d 1152, 1214 (11th Cir. 2010)). In this case,
 HCH continued to receive Medicare reimbursements for
 inappropriate patients through at least December 2008,
 even after notification of the audit. Accordingly, the
 conspiracy continued until at least December 2008.

            Defendant claims that acts of concealment
 committed by the HCH defendants were not acts in
 furtherance of the conspiracy. In Grunewald, however,
 the Supreme Court drew a distinction between “acts of
 concealment done in furtherance of the main criminal
 objectives of the conspiracy, and acts of concealment
 done   after   these  central  objectives   have  been
 attained, for the purpose only of covering up after
 the crime.” 353 U.S. at 405. Grunewald therefore
 “directs [the court’s] attention to the function
 served by the act of concealment in relation to the
 objectives of the conspiracy.” United States v.
 Pecora, 798 F.2d 614, 630 (3d Cir. 1986). In analyzing
 an act of concealment, the court is to give the “in
 furtherance” requirement broad interpretation. Id. For
 instance, where “the concealment of the existence of
 the conspiracy served not only to cover up . . . past
 participation in criminal behavior, but to shield the
 ongoing conspiracy as well” such that “concealment
 enables the defendants to continue their illegal

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     payoff   scheme,”  those   acts  could  be   found  in
     furtherance of the conspiracy. Id. In the instant
     case, acts of concealment charged in the Indictment
     occurred during the execution of the fraud scheme, not
     after the scheme was terminated.

               For the reasons discussed above, the Court
     will deny Defendant’s motion in limine to strike the
     indictment as time-barred or otherwise amend the
     indictment to conform to the statute of limitations.

ECF No. 384 at 31-36.

           The portions of the Court’s Memorandum excerpted above

fully address this issue. Because health care fraud (like

conspiracy) is a continuing offense and HCH submitted fraudulent

claims to Medicare for the four patients at issue during the

five-year period preceding the return of the Indictment, there

is no statute of limitations issue. Accordingly, the Court will

deny Defendant’s motion for acquittal on statute of limitations

grounds.


     F.    Government Agent’s Role in Counts 4 and 9

           Finally, Defendant argues that Richard Barber was

acting as a government agent at the time he falsified records in

the patient files at issue in Counts 4 and 9. Def.’s Mot.

Acquittal at 14. She argues that she cannot be convicted of

those two counts because “the acts of a government agent cannot

be used against her as a basis to convict.” Id. The Government

responds that there was no evidence adduced at trial that Barber

was acting on FBI instructions when he made false entries in HCH

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records. Gov’t’s Resp. at 24. Rather, “Barber testified that he

made false entries in patient files on the orders of McGill,

Pugman, and other HCH employees who were themselves acting on

the orders of Pugman.” Id.

           Defendant does not point to any authority in support

of this argument, and therefore the Court is left uninformed on

the precise legal basis for her claim.

           Defendant’s argument cannot be based on the simple

fact that Barber at times acted as an FBI agent. “It is well

settled that the fact that officers or employees of the

Government merely afford opportunities or facilities for the

commission of the offense does not defeat the prosecution.

Artifice and stratagem may be employed to catch those engaged in

criminal enterprises.” Jacobsen v. United States, 503 U.S. 540,

548 (1992) (quoting Sorrells v. United States, 287 U.S. 435, 441

(1932)). Of course, it is also well settled that Government

agents may not originate a criminal design, implant the

disposition to commit a criminal act in a criminal person’s

mind, and then induce the commission of the crime so that the

Government may prosecute. Id. Defendant’s argument seems to be

based on this principle, likely sounding in an entrapment

defense or perhaps an argument that the Government’s conduct

violated the Due Process Clause of the Fifth Amendment. For the



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sake of completeness, the Court will address each of those

subjects below.

           Entrapment and the related due process defense are

based on the notion that it “serves no justifying social

objective” for the Government “to creat[e] new crime for the

sake of bringing charges against a person [it] had persuaded to

participate in wrongdoing.” United States v. West, 511 F.2d

1083, 1085 (3d Cir. 1975). While the defenses share some

similarities, the focus of the entrapment defense is on the

conduct of the defendant, whereas the focus of the due process

defense is on the conduct of the government agent himself.

United States v. Lakhani, 480 F.3d 171, 177-78 (3d Cir. 2007)

           The defense of entrapment focuses on the conduct of

the defendant. Id. at 178. The concern at the heart of the

entrapment defense is the defendant’s non-predisposition to

commit the offense. United States v. Fedroff, 874 F.2d 178, 182

(3d Cir. 1989). It is a “relatively limited defense” that

exculpates a defendant only “when the Government’s deception

actually implants the criminal design in the mind of the

defendant.’” Id. at 181 (quoting United States v. Russell, 411

U.S. 423, 436 (1973)). Once the defendant properly raises an

entrapment defense, the Government may disprove the defense by

showing “(1) an existing course of criminal conduct similar to

the crime for which the defendant is charged, (2) an already

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formed design on the part of the accused to commit the crime for

which he is charged, or (3) a willingness to commit the crime

for which he is charged as evidenced by the accused’s ready

response to the inducement.” United States v. Gambino, 788 F.2d

938, 945 (3d Cir. 1986) (quoting United States v. Viviano, 437

F.2d 295, 299 (2d Cir. 1971)).

           The defense of due process, on the other hand, focuses

exclusively on the Government’s conduct. Lakhani, 480 F.3d at

177. Where a Government agent’s actions are “so outrageous” as

to be “shocking to the universal sense of justice,” the Due

Process Clause can function as an “absolut[e] bar [on] the

[G]overnment from invoking judicial processes to obtain a

conviction.” Id. at 177-78 (alterations in original) (quoting

Russell, 411 U.S. at 431-32). Although there is no sharply

defined standard for application of the defense, id. at 181,

“the challenged conduct must be shocking, outrageous, and

clearly intolerable.” United States v. Nolan-Cooper, 155 F.3d

221, 230-31 (3d Cir. 1998) (quoting United States v. Mosley, 965

F.2d 906, 910 (10th Cir. 1992)). The Third Circuit has noted

that courts are “extremely hesitant to find law enforcement

conduct so offensive that it violates the Due Process Clause.”

United States v. Voigt, 89 F.3d 1050, 1065 (3d Cir. 1996). The

principle should be invoked only when confronted with “the most

intolerable government conduct”--“not each time the government

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acts deceptively or participates in the crime that it is

investigating.” Lakhani, 480 F.3d at 180 (quoting Nolan-Cooper,

155 F.3d at 231). And courts must take care that a defendant is

not attempting to invoke due process “merely as a device to

circumvent the predisposition test of the entrapment defense.”

Id. (quoting Nolan-Cooper, 155 F.3d at 231).

             Defendant requested an entrapment defense 9 instruction

at trial but the Court rejected the instruction, finding that

Defendant had not presented evidence of non-predisposition, as

required for the defense. As to a due process defense, Defendant

has presented no evidence that Barber’s falsification of patient

records was done solely at the FBI’s direction, let alone that

the conduct was “outrageous.” Because Defendant has not pointed

to any other legal principle under which she might prevail,

Defendant’s argument based on Barber’s involvement in falsifying

patient files fails.


IV.    MOTION FOR NEW TRIAL

             In the alternative, Defendant moves for a new trial

under Rule 33. She claims that “[t]he cumulative errors by the

government so infected the jury’s deliberations that they


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          Defendant initially indicated that she wished to raise
the defense of entrapment by estoppel. ECF Nos. 360, 378. At the
charge conference, however, Defendant requested only an
instruction as to a run-of-the-mill entrapment defense.

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influenced the verdict and a new trial should be granted.”

Defendant, however, does not identify any specific errors by the

Government that occurred during the trial. Assuming that she

relies on the same “errors” identified in her motion for

acquittal, Defendant has not shown that these errors present

“serious danger that a miscarriage of justice has occurred--that

is, that an innocent person has been convicted.” Johnson, 302

F.3d at 150 (quoting United States v. Santos, 20 F.3d 280, 285

(7th Cir. 1994)). As such, Defendant’s motion under Rule 33 will

be denied.


V.    CONCLUSION

            For the reasons above, the Court will deny Defendant’s

motion for acquittal or for a new trial. An appropriate order

follows.




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